     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 1 of 62 Page ID #:209




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 7
 8                             UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        Case No. CR 13-00318-CAS
12
                  Plaintiff,                          MOTION FOR COMPASSIONATE
13                                                    RELEASE UNDER 18 U.S.C. §
           v.                                         3582(c)(1) (A) AND EXHIBITS
14   SHANT KARIBLGHOSSIAN,
15
                  Defendant.
16
17         Defendant Shant Kariblghossian, by and through his attorney Deputy Federal
18   Public Defender Jennifer Friedman, hereby files this Motion in Support of his Request
19   for Compassionate Release. This motion is based on the attached memorandum of
20   points and authorities, exhibits, and all the records in this case.
21                                            Respectfully submitted,
22                                            CUAUHTEMOC ORTEGA
                                              Interim Federal Public Defender
23
24   DATED: September 21, 2020            By /s/ Jennifer Friedman
25                                          JENNIFER FRIEDMAN
                                            Deputy Federal Public Defender
26                                          Attorney for SHANT KARIBLGHOSSIAN

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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 2 of 62 Page ID #:210




 1                                               TABLE OF CONTENTS
 2                                                                                                                             PAGE
 3   I.       INTRODUCTION ................................................................................................... 1
 4   II.      FACTUAL BACKGROUND.................................................................................. 1
 5            A.       Procedural History......................................................................................... 1
 6            B.       Shant Kariblghossian’s Background ............................................................. 2
 7
              C.       Shant Kariblghossian’s Health Problems ...................................................... 2
 8
                       1.       Diabetes ............................................................................................... 2
 9
                       2.       Obesity ................................................................................................ 3
10
11                     3.       Hypertension ....................................................................................... 3
12                     4.       Hepatitis C........................................................................................... 3
13                     5.       Mental Illness ...................................................................................... 3
14
              D.       The COVID-19 Health Crisis ........................................................................ 3
15
              E.       Shant Kariblghossian has three medical conditions and mental illness
16                     which place him at in danger of contracting a severe illness from
17                     COVID-19 according to the Center for Disease Control. ............................. 5
18            F.       Mr. Kariblghossian has exhausted his administrative remedies ................... 5
19            G.       Mr. Kariblghossian’s release plan ................................................................. 6
20
     III. ARGUMENT ............................................................................................................... 6
21
              A.       Legal Standard ............................................................................................... 6
22
              B.       Mr. Kariblghossian has fully exhausted his administrative remedies........... 8
23
24            C.       Mr. Kariblghossian’s underlying health conditions in light of the
                       COVID-19 pandemic are “extraordinary and compelling” under 18
25                     U.S.C. § 3852(c)(1) ....................................................................................... 8
26
27
28
                                                                     i
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 3 of 62 Page ID #:211




 1                                           TABLE OF CONTENTS
 2                                                                                                                     PAGE
 3                 1.       Mr. Kariblghossian can demonstrate “extraordinary and
                            compelling reasons” under Section 3582(c)(1)(A)(i) ......................... 8
 4
 5                 2.       Mr. Karibghossian does not represent a continuing danger to the
                            community ........................................................................................ 12
 6
     IV.   CONCLUSION...................................................................................................... 13
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                 ii
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 4 of 62 Page ID #:212




 1                               TABLE OF AUTHORITIES
 2   FEDERAL CASES                                                                                     PAGE(S)
 3   Doe v. Barr,
 4     2020 WL 1820667 (N.D. Cal. Apr. 12, 2020) ........................................................... 12
 5   Doe v. Barr,
       2020 WL 1984266 (N.D. Cal. Apr. 27, 2020) ........................................................... 12
 6
 7   Durel B. v. Decker,
       2020 WL 1922140 (D.N.J. Apr. 21, 2020) ................................................................ 12
 8
     United States v. Beck,
 9
       2019 WL 271605 (M.D.N.C. Jun 28, 2019) ................................................................ 9
10
     United States v. Cantu,
11     2019 WL 2498923 (S.D. Tex. Jun. 17, 2019) ............................................................. 9
12
     United States v. Wade,
13     No. 2:99-cr-00257-CAS (C.D. Cal. Apr. 13, 2020) .................................................... 9
14   United States v. Amarrah,
15     2020 WL 2220008 (E.D. Mich. May 7, 2020) .......................................................... 11
16   United States v. Brown,
17     411 F. Supp. 3d. 446 (S.D. Iowa 2019) ..................................................................... 10

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       2020 WL 1613943 (D. Conn. Apr. 2, 2020).............................................................. 10
19
20   United States v. Hansen,
       2020 WL 1703672 (E.D.N.Y. Apr. 8, 2020) ............................................................. 11
21
     United States v. Johnson,
22     No. 15-cr-125, 2020 WL 2515856 (D.D.C. May 16, 2020) ...................................... 12
23
     United States v. Krokos,
24     Dkt. 1016, CR 12-527-GW (C.D. Cal. May 1, 2020) ................................................. 9
25   United States v. Lavy,
26     2020 WL 3218110 (D. Kan. June 15, 2020).............................................................. 12
27
28
                                                             iii
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 5 of 62 Page ID #:213




 1                                    TABLE OF AUTHORITIES
 2   FEDERAL CASES                                                                                                       PAGE(S)
 3   United States v. Parker,
 4     2020 WL 2572525 (C.D. Cal. May 21, 2020) ........................................................... 11
 5   United States v. Pena,
       __ F. Supp. 3d. __ (S.D.N.Y. May 8, 2020) .............................................................. 11
 6
 7   United States v. Perez,
       2020 WL 1546422 (S.D.N.Y. Apr. 1, 2020) ............................................................... 9
 8
     United States v. Rodriguez,
 9
       2020 WL 1627331 (E.D. Pa. Apr. 1, 2020) ............................................................... 11
10
     FEDERAL STATUTES
11
12   18 U.S.C. 3582 ......................................................................................................... passim

13   21 U.S.C. 841 .................................................................................................................... 1
14   MISCELLANEOUS
15   Achieving a Fair and Effective COVID-19 Response: An Open Letter to
16   Vice-President Mike Pence, and Other Federal, State, and Local Leaders
     from Public Health and Legal Experts in the United States (March 2, 2020)
17   at 4, available at https://bit.ly/2W9V6oS .......................................................................... 4
18
     April 23, 2020, available at
19   https://www.nytimes.com/2020/04/23/health/coronavirus-patients-risk.html
20   (last visited September 8, 2020)........................................................................................ 5

21   Center for Disease Control Defining Adult Overweight and Obesity
     https://www.cdc.gov/obesity/adult/defining.html ............................................................ 3
22
23   Clinical Infectious Diseases 45(8) (2007), available at
     https://doi.org/10.1086/521910; ........................................................................................ 4
24
     Craig McCarthy, Top Rikers Doctor: Coronavirus “Storm is Coming,”
25   N.Y. Post (Mar. 19, 2020), available at https://tinyurl.com/yx88rxoq ............................. 4
26
     https://tinyurl.com/y9chuzkm (last visited August 20, 2020) .......................................... 5
27
28
                                                                       iv
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 6 of 62 Page ID #:214




 1                                     TABLE OF AUTHORITIES
 2   MISCELLANEOUS                                                                                                          PAGE(S)
 3   https://www.bop.gov/coronavirus/index.jsp ..................................................................... 3
 4
     https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/managing-
 5   stress-anxiety.html (last visited September 8, 2020) ........................................................ 9
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 7   Release in U.S. Federal Prisons (2012) ........................................................................... 7
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     Program (April 2013) ....................................................................................................... 7
 9
10   Joseph A. Bick, “Infection Control in Jails and Prisons,” ................................................ 4
11   Joseph Neff, The Marshall Project, Federal Prisons Agency ‘Put Staff in
12   Harm’s Way’ of Coronavirus (April 3, 2020),
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14   Letter to President Trump (March 27, 2020), available at
15   https://tinyurl.com/qkutb64 ............................................................................................... 4
16   Office of the Attorney General, Prioritization of Home Confinement as
17   Appropriate in Response to COVID-19 Pandemic (Mar. 26, 2020),
     https://tinyurl.com/ybqk9dzv ............................................................................................ 4
18
     Report available at https://oig.justice.gov/reports/2013/e1306.pdf .................................. 7
19
20   Report available at
     https://www.hrw.org/sites/default/files/reports/us1112ForUploadSm.pdf ...................... 7
21
     Section 603, “Increasing the Use and Transparency of Compassionate
22   Release”............................................................................................................................. 7
23
     Vice, “Sick Staff, Inmate Transfers, and No Tests: How the U.S. is Failing
24   Federal Inmates as Coronavirus Hits” (Mar. 24, 2020), available at
25   https://tinyurl.com/u5rtujz ................................................................................................ 4

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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 7 of 62 Page ID #:215




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2                                    I. INTRODUCTION
 3         Shant Kariblghossian, a BOP inmate with less than 24 months left to serve of his
 4   120 month drug-related sentence, is at risk of dying in prison as a result of numerous
 5   medical conditions that place him at extreme danger if infected with COVID-19. Recent
 6   medical records confirm that Mr. Kariblghossian suffers from type II diabetes, hepatitis
 7   C, hypertension, retinopathy, neuropathy and obesity. His recent placement in protective
 8   custody at Schuylkill FCI has only exacerbated his deteriorating medical condition and
 9   mental health. Given the unique risks he faces from COVID-19, Mr. Kariblghossian
10   requests that this Court exercise its discretion under 18 U.S.C. § 3852(c)(1)(A) and
11   allow him to be immediately placed on supervised release with conditions consistent
12   with the original judgment. Mr. Kariblghossian’s compromised physical condition and
13   his prospect of severe symptoms or even death are compelling reasons for the court to
14   exercise its discretion.
15                              II. FACTUAL BACKGROUND
16   A.    Procedural History
17         Mr. Kariblghossian pled guilty to two counts of Distribution of at least 50 grams
18   of Methamphetamine in violation of 21 USC 841(a)(1),(b)(1)(A), and on February 9,
19   2015, was sentenced to serve 120 months in prison. (Judgment, February 9, 2015, Dkt.
20   No.40.) The criminal charges in this case resulted from Mr. Kariblghossian selling
21   methamphetamine to an undercover law enforcement officer on two occasions in 2011.
22   Mr. Kariblghossian did not receive any monetary benefits from the sale of the drugs but
23   was instead provided methamphetamine to support his drug habit.1 (Presentence
24   Investigation Report (hereafter “PSR” at 5 ¶12.) As of this filing, Mr. Kariblghossian’s
25   current release date is August 2, 2022, leaving less than 24 months of his original 120
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27            Substance use disorder is considered a psychiatric illness in the Diagnostic and
     Statistical Manual (DSM-5).
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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 8 of 62 Page ID #:216




 1   month sentence. (Ex. 1 Bureau of Prisons Inmate Locator.) Mr. Kariblghossian has
 2   served more than 75% of his sentence as of this filing.
 3   B.    Shant Kariblghossian’s Background
 4         Shant Kariblghossian was born on September 28, 1984, in Westminster,
 5   California and was raised in Montebello. (PSR at 14 ¶ 57.) Mr. Kariblghossian was
 6   raised by his parents Ara Boghossian and Hasmig Boghossian until his mother’s death
 7   from cancer in 2003. (Ex. 2 Death Certificate Hasmig Boghossian dated June 18,
 8   2003.) Mr. Kariblghossian who was very close to his mother was just 16 years old
 9   when she was first diagnosed with cancer. Her illness was very difficult for him and
10   when she passed away three years later, he became very depressed and his drug use
11   increased significantly. (PSR at 14¶ 59-60.)
12   C.    Shant Kariblghossian’s Health Problems
13         1.     Diabetes
14         Mr. Kariblghossian suffers from type 2 diabetes mellitus. (Ex. 3, Bureau of
15   Prisons Health Services Inmate Intra-System Transfer, February 4, 2020.) As a result,
16   he is currently taking several different medications each day to control his condition,
17   including Metformin, Atorvastatin, and Glipizide. (Ex. 4 Bureau of Prisons Health
18   Services Clinical Encounter, July 14, 2020.) While not currently taking insulin, he has
19   been prescribed insulin at various times during his prison commitment. (Ex. 5, Clinical
20   Encounter December 27, 2019.)
21         Mr. Kariblghossian also suffers from retinopathy, an eye condition caused by
22   uncontrolled diabetes, as well as neuropathy in his back, also likely resulting from his
23   diabetes. (Ex. 3.)
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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 9 of 62 Page ID #:217




 1         2.     Obesity
 2         Mr. Kariblghossian suffers from obesity: his Body-Mass Index (BMI) is 31.0-
 3   31.9 which puts him in the obese range.2 (Id.)
 4         3.     Hypertension
 5         Mr. Kariblghossian suffers from hypertension (Ex. 3) He is currently taking
 6   Lisinopril to treat this condition. (Ex. 4.)
 7         4.     Hepatitis C
 8         While currently in remission, Mr. Kariblghossian has been diagnosed and treated
 9   for Hepatitis C while in prison. (Ex. 3.)
10         5.     Mental Illness
11         Mr. Kariblghossian suffers from obsessive compulsive disorder and anxiety. (Id.)
12   D.    The COVID-19 Health Crisis
13         The federal Bureau of Prisons (BOP) reported its first inmate case of COVID-19
14   on March 21, 2020. For the following week, it issued reassuring messages that the
15   situation was under control. The months that followed have proven that nothing was
16   further from the truth. As of September 8, 2020, 1,861federal inmates and 643 BOP
17   staff have had confirmed positive test results for COVID-19. 3 One-hundred and
18   eighteen federal inmates and two staff members have died. Id. This is likely an
19   underestimate of the number of infected inmates. In some cases, BOP has ordered
20   employees exposed to inmates with the virus to continue reporting to work and this, the
21   infection has likely spread wider than reported.4
22         Public health experts have warned that incarcerated individuals “are at special
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           2
24            See Center for Disease Control Defining Adult Overweight and Obesity
     https://www.cdc.gov/obesity/adult/defining.html
            3
25            https://www.bop.gov/coronavirus/index.jsp
            4
              Joseph Neff, The Marshall Project, Federal Prisons Agency ‘Put Staff in
26    Harm’s Way’ of Coronavirus (April 3, 2020),
      https://www.themarshallproject.org/2020/04/03/federal-prisons-agency-put-staff-in-
27    harm-s-way-of-coronavirus (last visited on September 8, 2020).

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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 10 of 62 Page ID #:218




 1   risk of infection” and are “less able to participate in proactive measures to keep
 2   themselves safe.”5 Indeed, the conditions in BOP facilities provide a uniquely hospitable
 3   environment for COVID-19 to spread, as the numbers above demonstrate.6
 4   Recognizing the risks that correctional facilities pose to both inmates and employees,
 5   members of Congress asked the BOP on March 19, 2020, to allow for the immediate
 6   release of elderly, non-violent inmates.7 The following week, Attorney General Barr
 7   urged the Director of the BOP to prioritize home confinement for vulnerable
 8   individuals.8 On March 27, 2020, more than 400 former DOJ leaders, attorneys, and
 9   federal judges sent an open letter to the President, asking that he take immediate action
10   to reduce the population in correctional facilities to prevent the catastrophic spread of
11   COVID-19, in particular by commuting the sentences of elderly and medically
12   vulnerable inmates who have already served a majority of their sentence.9
13         Although the BOP is taking steps to minimize the spread of the disease, “we
14   cannot change the fundamental nature of jail.”10 Prison facilities involve a number of
15   people in small areas, sharing spaces and bathrooms and surfaces, using the same
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17             Achieving a Fair and Effective COVID-19 Response: An Open Letter to Vice-
     President Mike Pence, and Other Federal, State, and Local Leaders from Public Health
18   and Legal Experts in the United States (March 2, 2020) at 4, available at
     https://bit.ly/2W9V6oS.
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            6
               See, e.g., Joseph A. Bick, “Infection Control in Jails and Prisons,” Clinical
     Infectious Diseases 45(8): 1047-1055 (2007), available at
20   https://doi.org/10.1086/521910; Vice, “Sick Staff, Inmate Transfers, and No Tests: How
     the U.S. is Failing Federal Inmates as Coronavirus Hits” (Mar. 24, 2020), available at
21   https://tinyurl.com/u5rtujz.
            7
               Letter of Representatives Jerrold Nadler and Karen Bass (March 19, 2020)
22   (“DOJ and BOP must also do all they can to release as many people as possible who are
     currently behind bars and at risk of getting sick. Pursuant to 18 U.S.C. 3582(c)(1)(A),
23   the Director of the Bureau of Prisons may move the court to reduce an inmate’s term of
     imprisonment
            8
                     for “extraordinary and compelling reasons.”).
24             Office of the Attorney General, Prioritization of Home Confinement as
     Appropriate in Response to COVID-19 Pandemic (Mar. 26, 2020),
25   https://tinyurl.com/ybqk9dzv.
            9
               Letter to President Trump (March 27, 2020), available at
26   https://tinyurl.com/qkutb64.
            10
                Craig McCarthy, Top Rikers Doctor: Coronavirus “Storm is Coming,” N.Y.
27   Post (Mar. 19, 2020), available at https://tinyurl.com/yx88rxoq.

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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 11 of 62 Page ID #:219




 1   phones and the same computer terminals. In this crisis, the only universally
 2   recommended solution is to reduce the prison population.
 3   E.    Shant Kariblghossian has three medical conditions and mental illness
 4         which place him at in danger of contracting a severe illness from
 5         COVID-19 according to the Center for Disease Control.
 6         Mr. Kariblghossian has three independent medical conditions that put him at
 7   heightened risk from COVID-19: namely, Type 2 diabetes, obesity, and hypertension.
 8   The Center for Disease Control states that persons with Type 2 diabetes mellitus and
 9   obesity (defined as a body mass index [BMI] of 30 or higher) are at an increased risk of
10   severe illness from COVID-19, and that persons with “hypertension or high blood
11   pressure” are also potentially at higher risk.11 As described supra Section II.C, Mr.
12   Kariblghossian suffers from all of these conditions, and is therefore at increased risk of
13   serious illness or potentially death from COVID-19. A study of patients from New
14   York, an early hotbed of COVID-19, found that the majority of those who required
15   hospitalization for COVID related symptoms, had underlying health conditions and of
16   the conditions, diabetes, obesity and high blood pressure were the most common.12
17   F.    Mr. Kariblghossian has exhausted his administrative remedies
18         On May 18, 2020, the Warden received Mr. Kariblghossian’s Request for
19   Compassionate Release in accordance with the “First Step Act” and denied his request
20   on June 12, 2020. (Ex. 6, Warden’s Denial June 12, 2020.) In rejecting Mr.
21   Kariblghossian’s request, the Warden explicitly acknowledged Mr. Kariblghossian’s
22
23
24         11
              Center for Disease Control, “Coronavirus Disease 2019 (COVID-19): Persons
     of Any Age with Underlying Medical Conditions,” https://tinyurl.com/y9chuzkm (last
25   visited August 20, 2020).
26         12
              New York Times “Nearly All Patients Hospitalized With Covid-19 Had
     Chronic Health Issues, Study Finds” April 23, 2020, available at
27   https://www.nytimes.com/2020/04/23/health/coronavirus-patients-risk.html (last visited
     September 8, 2020).
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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 12 of 62 Page ID #:220




 1   medical conditions and his susceptibility to serious complications from COVID if
 2   contracted. (Id.) More than 30 days has passed since the denial. (Id.)
 3   G.    Mr. Kariblghossian’s release plan
 4         If released from prison on supervised release as ordered in the original judgement,
 5   Mr. Kariblghossian will be supervised by the United States Probation Department for a
 6   period of five years. He will be drug tested and participate in either an in-patient or out-
 7   patient drug program. He will reside with his brother and his father at their home in
 8   Bellflower unless he is ordered into a residential drug treatment program. Mr.
 9   Kariblghossian will receive medical treatment for his diabetes, and diabetes related
10   complications, hypertension and obesity from his primary care physician Dr. M.W
11   Coates and at Long Beach Memorial Medical Center. (Ex. 7, Letter from Dr. Coates,
12   August 17, 2020.) He will receive psychiatric care and treatment from Bellflower
13   Behavioral Health Hospital. (Ex. 8, Release Plan Authored by De Anna Dove,
14   September 2020.) Mr. Kariblghossian has tremendous community support as attested to
15   by the willingness of his brother to provide care and support and the many letters
16   written to the Court requesting Mr. Kariblghossian’s release. (Ex. 9, Letters of Support.)
17   Once Mr. Kariblghossian has completed a drug treatment program and if he is able to
18   work, his brother plans to employ him at his business. (Ex. 8.)
19                                       III. ARGUMENT
20   A.    Legal Standard
21         The court has the authority to reduce Mr. Kariblghossian’s sentence for
22   “extraordinary and compelling reasons” under 18 U.S.C. 3582(c). Specifically, section
23   3582(c)(1)(A) allows the Court to modify Mr. Kariblghossian’s term of imprisonment if
24   he proves (1) “extraordinary and compelling reasons,” exist consistent with the factors
25   available under 18 U.S.C. § 3553(a); (2) that he is not a danger to the community, and
26   (3) that the release is consistent with the policies of the Sentencing Guidelines. Finally,
27   in addition to meeting these substantive requirements, he must also demonstrate that he
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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 13 of 62 Page ID #:221




 1   has exhausted his administrative options. (18 U.S.C. 3582 (c)(1)(A)(i); USSG §
 2   1B1.13).
 3         Before, the First Step Act, Section 3582(c)(1) permitted only the Bureau of
 4   Prisons to initiate a compassionate release request. And the BOP did so quite sparingly,
 5   making an average of only 24 requests of an approximately 218,000 inmates in BOP’s
 6   custody. Dep’t of Justice, Office of the Inspector General, The Federal Bureau of
 7   Prisons’ Compassionate Release Program, at 1 (April 2013) (“OIG Report”).13 The
 8   BOP received significant criticism for its sparing use of the program. Human Rights
 9   Watch, The Answer Is No: Too Little Compassionate Release in U.S. Federal Prisons, at
10   8 (2012) (“Senior BOP officials have failed to pay appropriate attention to how wardens
11   define and exercise their discretion in some instances, and in others, have nurtured a
12   culture of “no” that influences how wardens respond to prisoner requests. . . . Ranging
13   from benign neglect to active resistance to program reform, DOJ oversight has muted
14   the promise of compassion envisioned by Congress.”).14 The Department of Justice’s
15   Office of Inspector General itself concluded that the robust use of compassionate release
16   would result in significant cost savings without posing serious risk to the safety of the
17   community, but that the BOP’s use of the program was ad hoc and disorganized. See
18   OIG report at i-iv.
19         In passing the First Step Act, Congress took a significant step away from the
20   BOP’s parsimonious use of compassionate release and toward a more robust application
21   of the program. See First Step Act of 2018, P.L. 115-391, 132 Stat. 5194, 5239 (Dec. 21,
22   2018) (entitling Section 603, “Increasing the Use and Transparency of Compassionate
23   Release”). Most importantly, it loosened the grip the BOP had on making such motions
24   and moved decision-making back to the sentencing court.
25
26         13
           14
              Report available at https://oig.justice.gov/reports/2013/e1306.pdf.
27            Report available at
     https://www.hrw.org/sites/default/files/reports/us1112ForUploadSm.pdf.
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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 14 of 62 Page ID #:222




 1         Finally, Section 3582(c)(1) permits a defendant to file a motion with the
 2   sentencing court “after the defendant has fully exhausted all administrative rights to
 3   appeal the failure of the Bureau of Prisons to bring a motion . . . or the lapse of 30 days
 4   from the receipt of such a request by the warden of the defendant’s facility, whichever is
 5   earlier[.]” 18 U.S.C. § 3582(c)(1)(A).
 6   B.    Mr. Kariblghossian has fully exhausted his administrative remedies
 7         Section 3582(c)(1)(A)(i) permits courts to consider motions filed by the
 8   defendant so long as “the defendant has fully exhausted all administrative rights to
 9   appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf,” or
10   after “the lapse of 30 days from the receipt of such a request by the warden of the
11   defendant’s facility, whichever is earlier[.]” Mr. Kariblghossian’s administrative request
12   for compassionate release was denied by the warden on June 12, 2020. More than 30
13   days has passed since the warden’s denial. There has been no change in circumstances
14   other than more federal inmates have contracted COVID-19. Nothing further is required
15   to exhaust his administrative remedies.
16   C.    Mr. Kariblghossian’s underlying health conditions in light of the
17         COVID-19 pandemic are “extraordinary and compelling” under 18
18         U.S.C. § 3852(c)(1)
19         1.     Mr. Kariblghossian can demonstrate “extraordinary and
20                compelling reasons” under Section 3582(c)(1)(A)(i)
21         Under Section 3582(c)(1)(A)(i), a defendant seeking compassionate relief must
22   show “extraordinary and compelling reasons” warranting a modification of his sentence.
23   Notably, the statute does not define “extraordinary and compelling reasons.” Instead,
24   the Court must look to “applicable policy statements issued by the Sentencing
25   Commission” for guidance as to this standard. 18 U.S.C. § 3582(c)(1)(A). The U.S.
26   Sentencing Commission has issued a policy statement on this point. Commentary to the
27   policy statement sets out four categories of “extraordinary and compelling reasons”: (1)
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                                                   8
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 15 of 62 Page ID #:223




 1   a terminal illness; (2) health issues that diminish a defendant’s ability to provide self-
 2   care; (3) advanced age; and (4) “other reasons” as defined by the Director of the BOP.
 3   U.S.S.C. § 1B1.13 cmt. n.1(A). Additionally, the court is free to consider any factor that
 4   it could consider under section 3553(a). U.S. v. Beck, 2019 WL 271605, at *6, 9
 5   (M.D.N.C. Jun 28, 2019); U.S. v. Cantu, 2019 WL 2498923, at *5 (S.D. Tex. Jun. 17,
 6   2019) (“[W]hen a defendant brings a motion for a sentence reduction under the
 7   amended provision, the Court can determine whether any extraordinary and compelling
 8   reasons other than those delineated in U.S.S.C. §1B1.13 cmt. n. 1(A)-(C) warrant
 9   granting relief.”); U.S. v. Wade, No. 2:99-cr-00257-CAS, Dkt. No. 633 at 6-7 (C.D. Cal.
10   Apr. 13, 2020) (collecting cases).
11         As described above, Mr. Kariblghossian’s health problems—including Type 2
12   diabetes, obesity, and hypertension—all put him at serious risk of contracting a severe
13   illness if sickened with COVID-19. (Ex. 3,7) Mr. Kariblshossian takes numerous
14   medications including Metformin, Atorvastatin, Lisinopril and Glipizide to control his
15   diabetes and hypertension. (Ex. 7) Additionally, the COVID-19 pandemic has caused an
16   increase in his symptoms of mental illness and in particular, anxiety, which in turn
17   exacerbates his chronic health problems.15
18         These health and mental health conditions fall under the second and fourth
19   categories of the policy statement above. With respect to the second category, as this
20   Court has held, “medical conditions—which make [a defendant] especially vulnerable
21   to serious illness if he contracts COVID-19—‘substantially diminish’ his ability ‘to
22   provide self-care within the environment of a correctional facility.’” United States v.
23   Krokos, Dkt. 1016, CR 12-527-GW (C.D. Cal. May 1, 2020) (quoting U.S.S.C. §
24   1B1.13 cmt. n.1(A)(ii)). Other decisions are in accord. United States v. Perez, 17-cr-
25
26         15
              Center for Disease Control “Coping with Stress”
27   https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/managing-stress-
     anxiety.html (last visited September 8, 2020).
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                                                    9
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 16 of 62 Page ID #:224




 1   513-3-AT, 2020 WL 1546422, at *4 (S.D.N.Y. Apr. 1, 2020) (“Confined to a small cell
 2   where social distancing is impossible, [defendant] cannot provide self-care because he
 3   cannot protect himself from the spread of a dangerous and highly contagious virus.”);
 4   United States v. Colvin, 2020 WL 1613943, at *4 (D. Conn. Apr. 2, 2020) (finding that
 5   defendant with diabetes and hypertension, which increase her COVID-19 risk, “satisfied
 6   the guidelines’s ‘serious medical conditions’ test”).
 7         Alternatively, as many other courts have found, chronic medical conditions that
 8   increase a defendant’s COVID-19 risk can also amount to “extraordinary and
 9   compelling reasons” under the Guidelines’ fourth “catchall” category for “other
10   reasons.” See U.S.S.C. § 1B1.13 cmt. n.1(D). To be sure, the Guidelines provide that
11   these “other reasons” must be determined by the Director of the BOP. But as many
12   courts have noted, this prior policy statement—issued prior to the passage of the First
13   Step Act—does not account for the Act’s innovation of allowing defendant-initiated
14   compassionate release requests. Indeed, the policy statement that purports to set out the
15   contours of the “extraordinary and compelling reasons” standard is premised on a
16   compassionate release motion filed by the Director of the BOP, and states under what
17   conditions the Court can grant a motion filed by the BOP. See U.S.S.G. § 1B1.13, cmt.
18   n.4 (a “reduction under this policy statement may be granted only upon motion by the
19   Director of the Bureau of Prisons.”). Because the current policy statement pre-dates the
20   legislation it purports to administer, it is not an “applicable policy statement” under the
21   Act and thus cannot limit a court’s power to grant release. As such, courts nationwide
22   have held that a Court is not delimited by the criterion enumerated in 1B1.13. See
23   United States v. Fleming, CR 17-362-AB (C.D. Cal. June 24, 2020) (collecting cases).
24   Instead, the most logical reading of the statute and the policy statement is that “the
25   district court assumes the same discretion as the BOP Director when it considers a
26   compassionate release motion properly before it.” United States v. Brown, 411 F. Supp.
27   3d. 446, 451 (S.D. Iowa 2019).
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     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 17 of 62 Page ID #:225




 1         Thus, this Court can—and should—hold that, under section 1B1.13’s “other
 2   reasons” or “catchall” provision, Mr. Kariblghossian has shown “extraordinary and
 3   compelling reasons” favoring modification of his sentence, based on his special risk of
 4   illness from COVID-19. Other courts have so held for defendants with similar medical
 5   conditions who face heightened risks from COVID-19 infection. See, e.g., United States
 6   v. Parker, 2:98-cr-00749-CAS, 2020 WL 2572525, at * (C.D. Cal. May 21, 2020) Dkt.
 7   965 at 17, 21 (granting compassionate release to the former “leader[ ] of a drug
 8   distribution network,” serving a life sentence in part because, “[s]ince the onset of the
 9   COVID-19 pandemic, courts have determined that inmates suffering from conditions
10   such as hypertension and diabetes are now at an even greater risk of deteriorating health,
11   presenting “extraordinary and compelling” circumstances that may justify
12   compassionate release”); United States v. Amarrah, No. 17-20464, 2020 WL 2220008,
13   at *1 (E.D. Mich. May 7, 2020) (finding extraordinary and compelling circumstances
14   for defendant with “Type II diabetes, hypertensive heart disease, cardiac arrhythmia,
15   obstructive sleep apnea, and asthma”); United States v. Rodriguez, No. 2:03-CR-00271-
16   AB-1, 2020 WL 1627331, at *8 (E.D. Pa. Apr. 1, 2020) (explaining that “the confluence
17   of COVID-19 and” the defendant’s diabetes, hypertension, and liver abnormalities
18   “makes this circumstance extraordinary and compelling”); United States v. Hansen,
19   2020 WL 1703672, at *4, 8 (E.D.N.Y. Apr. 8, 2020) (granting motion in part because of
20   defendant’s two heart attacks and diagnoses of heart disease and hypertension while in
21   prison); United States v. Pena, __ F. Supp. 3d. __, 2020 WL 2301199, at *4 (S.D.N.Y.
22   May 8, 2020) (“This Court has repeatedly recognized that COVID-19 presents a
23   heightened risk for individuals with hypertension[.]”).
24         Not only is Mr. Kariblghossian at heightened risk of COVID-19 infection because
25   of his medical conditions, but additionally his mental illness increases his vulnerability
26   to Covid-19 and Covid-19 related complications. While depression and anxiety alone
27   may not constitute “compelling and extraordinary reasons” Courts have found
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                                                   11
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 18 of 62 Page ID #:226




 1   “compelling and extraordinary reasons” in similar situations where symptoms of mental
 2   illness negatively affect other pre-existing conditions. See e.g. United States v. Lavy,
 3   2020 WL 3218110, at *5 (D. Kan. June 15, 2020) (finding associations between major
 4   depressive disorder and "atypical immune responses")United States v. Johnson, No. 15-
 5   cr-125, 2020 WL 2515856 (D.D.C. May 16, 2020) (granting compassionate release due
 6   to increased vulnerability to COVID-19 flowing from mental illness);
 7   Doe v. Barr, No. 20-cv-02263 (RMI), 2020 WL 1984266 (N.D. Cal. Apr. 27, 2020)
 8   (ordering the release of a foreign national, detained in a county jail awaiting for his
 9   removal proceedings, in part because he suffers from PTSD and “[g]rowing evidence
10   demonstrates that PTSD, anxiety/stress, and depression can lead to decreased immune
11   response and increased risk of infections” and thus “compound his susceptibility” to
12   COVID-19”); Durel B. v. Decker, No. CV 20-3430 (KM), 2020 WL 1922140 (D.N.J.
13   Apr. 21, 2020); Fraihat v. ICE, No. 5:19-cv-1546 (JGB), slip op. at 21 n.20, 22 n.21
14   (C.D. Cal. Apr. 20, 2020); Doe v. Barr, No. 20-CV-02141-LB, 2020 WL 1820667
15   (N.D. Cal. Apr. 12, 2020)
16         2.     Mr. Karibghossian does not represent a continuing danger to the
17                community
18         Mr. Kariblghossian is not “a danger to the safety of any other person or to the
19   community.” See U.S.S.G. § 1B1.13(2). He is currently serving a sentence for a non-
20   violent offense, drug distribution, a crime he committed because he suffers from
21   substance use disorder. (PSR at 4 ¶ 8, 5 ¶ 12) His prior convictions are drug related and
22   non-violent. (PSR at 6-11 ¶ 27-42) The release plan described supra. IIG ensures that
23   Mr. Kariblghossian will be supervised and receive treatment for his medical conditons,
24   substance use disorder and mental illness. Hence, Mr. Kariblghossian does not represent
25   a continuing danger to the community and should not be denied compassionate release
26   on this ground.
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                                                   12
     Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 19 of 62 Page ID #:227




 1                                    IV. CONCLUSION
 2         Based on the foregoing, Mr. Kariblghossian respectfully requests this Court grant
 3   the motion and reduce his sentence to time-served with conditions on supervised release
 4   the Court deems appropriate. This will help ensure the safety of both Mr.
 5   Kariblghossian and the community. It will provide the services necessary to help Mr.
 6   Kariblghossian stay sober, but also receive the medical and mental health care he
 7   requires. Importantly, it will remove him from a prison where it is impossible for him to
 8   take the precautionary measures necessary to keep him from contracting COVID-19.
 9
10                                         Respectfully submitted,
11                                         CUAUHTEMOC ORTEGA
                                           Interim Federal Public Defender
12
13   DATED: September 21, 2020          By: /s/ Jennifer Friedman
14                                        JENNIFER FRIEDMAN
                                          Deputy Federal Public Defender
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Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 20 of 62 Page ID #:228




                     EXHIBIT
                        1
         Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 21 of 62 Page ID #:229
                                                                                                                                                 A-Z Topics   Site Map     FOIA


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                                                       Find By Number                      Find By Name


                                     Type of Number                                   Number

                                      BOP Register Number                              64876-112                          Search

    Result using number 64876-112                                                                                                                       Clear Form




                                                     SHANT N
                                                     KARIBLGHOSSIAN                                                       Related Links

                                                     Register Number: 64876-112                                           Facility Information
                                                                                                                          Call or email
                                                     Age:        35                                                       Send mail/package
                                                     Race:       White                                                    Send money
                                                     Sex:        Male                                                     Visit
                                                                                                                          Voice a concern
                                                     Located at: Schuylkill FCI
                                                     Release Date: 08/02/2022




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 Statistics               Custody & Care                                 Application Process                                Publications             Former Inmates
                          Visiting                                       Our Hiring Process                                 Research & Reports       Media Reps
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Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 22 of 62 Page ID #:230




                     EXHIBIT
                        2
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 23 of 62 Page ID #:231
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 24 of 62 Page ID #:232




                     EXHIBIT
                        3
       Case 2:13-cr-00318-CAS Document 45 Filed
                                  Bureau        09/21/20 Page 25 of 62 Page ID #:233
                                          of Prisons
                                                Health Services
                                          Inmate Intra-system Transfer
Reg #: 64876-112                           Inmate Name: KARIBLGHOSSIAN, SHANT N

SENSITIVE BUT UNCLASSIFIED – This information is confidential and must be appropriately safeguarded.
Transfer To: SCH                                         Transfer Date: 02/04/2020
Health Problems
  Health Problem                                                                Status
  Diabetes mellitus, type II (adult-onset)                                      Current
  Hyperlipidemia, mixed                                                         Current
  Anxiety state, unspecified                                                    Current
  Low back pain, lumbago                                                        Current
     Nontraumatic. nonspecific LBP
  Opioid Use Disorder: Severe                                                   Current
  Stimulant Related Disorders: Severe: Amphetamine Type Substance               Current
  Obsessive-Compulsive Disorder                                                 Current
  Retinopathy, NOS                                                              Current
     mild non-proliferative diabetic retinopathy OU
  Essential (primary) hypertension                                              Current
  Dental caries on smooth surface penetrating into pulp                         Current
  Periapical abscess without sinus                                              Current
  Follicular disorder, unspecified                                              Current
     Numerous papules on most of trunk, bil arms and legs.
  Screening for other eye conditions                                            Current
  Body mass index (BMI) 31.0-31.9, adult                                        Current
  Generalized anxiety disorder                                                  Remission
     B. h/o meth dependency.
     IIAntisocial traits, moderate to severe.
     III h/o DM, and htn.
     IVIncarceration.
     V51.
  Chronic viral hepatitis C                                                     Remission
     completed Mavyret 1/28/19, HCV Quant not detected 1/8/20

Medications: All medications to be continued until evaluated by a physician unless otherwise indicated.
Bolded drugs required for transport.
  Aspirin 81 MG EC Tab Exp: 12/23/2020 SIG: Take one tablet (81 MG) by mouth each day ***pill line***
  Atorvastatin 20 MG TAB Exp: 06/21/2020 SIG: Take one tablet (20 MG) by mouth every night at bedtime
  ***pill line***
  DULoxetine HCl Delayed Rel 60 MG Cap Exp: 07/14/2020 SIG: Take one capsule (60 MG) by mouth at
  bedtime ***pill line***
  Lisinopril 40 MG Tab Exp: 12/23/2020 SIG: Take one tablet (40 MG) by mouth each day ***pill line***
  metFORMIN HCl 500 MG Tab Exp: 01/14/2021 SIG: Take one tablet (500 MG) by mouth twice daily ***pill
  line***
  Mirtazapine 30 MG Tab Exp: 06/23/2020 SIG: Take one tablet (30 MG) by mouth each evening *consent form
  on file * ***pill line***
  Propranolol LA 24 Hour 60 MG Cap Exp: 06/21/2020 SIG: Take one capsule (60 MG) by mouth each day
  ***pill line***

OTCs: Listing of all known OTCs this inmate is currently taking.
   None
Pending Appointments:
  Date                 Time       Activity                                      Provider
  12/30/2019           00:00      Psychiatry Follow Up                          Psychiatrist
  02/05/2020           09:30      Optometry Exam                                Optometrist
Generated 01/31/2020 00:18 by Denham, Ronald LVN   Bureau of Prisons - BML                          Page 1 of 3
                                                                                     BOP-Kariblghossian000048
       Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 26 of 62 Page ID #:234
Reg #: 64876-112                           Inmate Name: KARIBLGHOSSIAN, SHANT N

SENSITIVE BUT UNCLASSIFIED – This information is confidential and must be appropriately safeguarded.
  Date              Time          Activity                                               Provider
  06/25/2020        00:00         Chronic Care Visit                                     Physician
  09/27/2020        00:00         PPD Administration                                     Nurse
  05/26/2022        00:00         Preventive Health Visit                                Nurse
Non-Medecation Orders:
  No Data Found
Active Alerts:
  Start Date      Alert                      Stop Date               Comments
  12/19/2015      Diversion of Medication
Consultations:
Pending Institutional Clinical Director Action
  No Data Found

Pending UR Committee Action
  No Data Found

Pending Regional Review Action
  No Data Found

Pending Scheduling
  No Data Found
Pending Consultation
  No Data Found
Pending Results
  No Data Found
TB Clearance: Yes
              Last PPD Date: 09/27/2019                                               Induration: 0mm
      Last Chest X-Ray Date:                                                             Results:
               TB Treatment:                                                 Sx free for 30 days: Yes
 TB Follow-up Recommended: No

Sickle Cell:
  Sickle Cell Trait/Disease:       No

Limitations/Restrictions/Diets:
  Cleared for Food Service: No
  Special instructions: HEART HEALTHY MENU OPTION DIET WITH 1800
  ADA DIABETIC, NO CONCENTRATED SWEETS DIET

  DIABETES
Comments:

Allergies
   No Known Allergies
Devices / Equipment
  Glucose Meter




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                                                                                              BOP-Kariblghossian000049
       Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 27 of 62 Page ID #:235
Reg #: 64876-112                           Inmate Name: KARIBLGHOSSIAN, SHANT N

SENSITIVE BUT UNCLASSIFIED – This information is confidential and must be appropriately safeguarded.
Travel:
      Direct Travel: No
 Travel Restrictions: None
UNIVERSAL PRECAUTIONS OBSERVED WHEN TRANSPORTING ANY INMATE:
 Transfer From Institution: BEAUMONT LOW FCI                                 Phone Number: 4097278172
                 Address 1: 5560 KNAUTH ROAD
                 Address 2:
             City/State/Zip: BEAUMONT, Texas 77705
 Name/Title of Person Completing Form: Denham, Ronald LVN                                             Date:    01/31/2020

  Inmate Name: KARIBLGHOSSIAN, SHANT N                  Reg #:     64876-112      DOB:   09/28/1984     Sex:     M




Generated 01/31/2020 00:18 by Denham, Ronald LVN   Bureau of Prisons - BML                                 Page 3 of 3
                                                                                            BOP-Kariblghossian000050
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 28 of 62 Page ID #:236




                     EXHIBIT
                        4
         Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 29 of 62 Page ID #:237
                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        KARIBLGHOSSIAN, SHANT N                                                      Reg #:      64876-112
Date of Birth:            1984                          Sex:      M   Race:WHITE                 Facility:   SCH
Note Date:          07/14/2020 08:28                    Provider: Mace-Leibson, Ellen DO         Unit:       Z02


Admin Note - Orders encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE             1            Provider: Mace-Leibson, Ellen DO CD
          Needs Rx renewal

Renew Medication Orders:
Rx#         Medication                                                                                     Order Date
116132-SCH Atorvastatin 20 MG TAB                                                                          07/14/2020 08:28
                  Prescriber Order:              ***pill line*** Take one tablet (20 MG) by mouth every night at bedtime x 365
                                                 day(s) Pill Line Only
                        Indication: Diabetes mellitus, type II (adult-onset), Hyperlipidemia, mixed
117184-SCH       glipiZIDE 5 MG TAB                                                                          07/14/2020 08:28
                        Prescriber Order:        ***pill line*** Take one tablet (5 MG) by mouth twice daily ***note increased
                                                 dose*** x 365 day(s) Pill Line Only
                        Indication: Diabetes mellitus, type II (adult-onset)
116134-SCH       Lisinopril 40 MG Tab                                                                     07/14/2020 08:28
                       Prescriber Order:         ***pill line*** Take one tablet (40 MG) by mouth each morning x 365 day(s)
                                                 Pill Line Only
                        Indication: Diabetes mellitus, type II (adult-onset), Essential (primary) hypertension
116435-SCH       metFORMIN HCl 1000 MG Tab UD                                                       07/14/2020 08:28
                     Prescriber Order:    ***pill line*** Take one tablet (1000 MG) by mouth twice daily x 365 day(s)
                                          Pill Line Only
                     Indication: Diabetes mellitus, type II (adult-onset)
Other:
     f/u labs pending

Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Mace-Leibson, Ellen DO CD on 07/14/2020 08:29




Generated 07/14/2020 08:29 by Mace-Leibson, Ellen DO     Bureau of Prisons - SCH                                   Page 1 of 1

                                                                                                  BOP-Kariblghossian000005
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 30 of 62 Page ID #:238




                     EXHIBIT
                        5
            Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 31 of 62 Page ID #:239
                                                        Bureau of Prisons
                                                         Health Services
                                                        Clinical Encounter
Inmate Name: KARIBLGHOSSIAN, SHANT N                                                                  Reg#: 64876-112
Date of Birth :     1984                                 Sex:      M    Race: WHITE                   Facility: BML
Encounter Date: 12/27/2019 07:56                         Provider: Polavarapu, Sreedhar MD            Unit:     202

Cosign Note - Medication Reconciliation encounter performed at Health Services.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Polavarapu, Sreedhar MD
       Chief Complaint: Medication Reconciliation
       Subjective: Rx renewal for Insulin
       Pain:        Not Applicable

OBJECTIVE:
Blood Glucose:
     Date              Time           Value (mg/di)      ~                          Regular Insulin     Provider
     12/27/2019        05:12 BMX 66                      Fasting                                        Yu, Lin RN
     12/26/2019        16:21 BMX      Unavailable                                                       Freeman, Travis LVN
     12/26/2019        04:58 BMX      109                Fasting                                        Denham, Ronald LVN
     12/25/2019        16:33 BMX       167               Fasting                                        Lahaye, A. LVN
     12/25/2019        05:01 BMX      98                 Fasting                                        Denham, Ronald LVN
     12/24/2019        16:21 BMX       157               Fasting                                        Lahaye, A. LVN
     12/24/2019        04:59 BMX      84                 Fasting                                        Denham, Ronald LVN
     12/23/2019        16:23 BMX       170               Fasting                                        Lahaye, A. LVN
     12/23/2019        05:43 BMX      98                 Fasting                                        Yu, Lin RN
     12/22/2019        16:19 BMX      89                 Unknown                                        May, C. RN
     12/22/2019        05:12 BMX 85                      Fasting                                        Yu, Lin RN
     12/21/2019        15:52 BMX      85                 Non-Fasting                                    Freeman, Travis LVN
     12/21/2019        05:02 BMX      114                Fasting                                        Yu, Lin RN
     12/20/2019        16:04 BMX      184                Non-Fasting                                    Freeman, Travis LVN
     12/20/2019        05:00 BMX      106                Fasting                                        Denham, Ronald LVN
     12/19/2019        15:35 BMX      87                 Unknown                                        May, C. RN
     12/19/2019        04:52 BMX 66                      Fasting                                        Denham, Ronald LVN
     12/18/2019        15:14 BMX      110                Unknown                                        May, C. RN
     12/18/2019        05:19 BMX      75                 Fasting                                        Yu, Lin RN
     12/17/2019        19:38 BMX      83                 Random                                         Yu , Lin RN
     12/17/2019        19:29 BMX 83                      Fasting                                        Yu, Lin RN
     12/17/2019        04:53 BMX      98                 Fasting                                        Brekel, C. LVN
     12/16/2019        16:04 BMX      160                Random                                         Hayes, M. LVN
     12/16/2019        05:54 BMX      96                 Unknown                                        Gunner, Selina LVN
     12/15/2019        16:08 BMX 71                      Random                                         Briggs, Robert LVN
     12/15/2019        05:22 BMX      114                Unknown                                        Gunner, Selina LVN
     12/14/2019        16:26 BMX      112                Random                                         Briggs, Robert LVN

Generated 12/27/2019 08:05 by Polavarapu, Sreedhar MD     Bureau of Prisons - BML                                        Page 1 of 3
            Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 32 of 62 Page ID #:240
Inmate Name: KARIBLGHOSSIAN, SHANT N                                                                 Reg#: 64876-112
Date of Birth :     1984                                Sex:      M    Race: WHITE                   Facility: BML
Encounter Date: 12/27/2019 07:56                        Provider: Polavarapu, Sreedhar MD            Unit:     Z02

     Date              Time           Value (mg/di)     ~                          Regular Insulin     Provider
     12/14/2019        05:17 BMX      149               Fasting                                        Yu, Lin RN
     12/13/2019        16:36 BMX      125               Random                                         Briggs, Robert LVN
     12/13/2019        04:48 BMX      Refused                                                          Brekel , C. LVN
     12/12/2019        16:15 BMX      162               Random                                         Hayes, M. LVN
     12/12/2019        04:53 BMX      Refused                                                          Brekel, C. LVN
     12/11/2019        15:58 BMX      77                Random                                         Hayes, M. LVN
     12/11/2019        05:46 BMX 79                     Unknown                                        Gunner, Selina LVN
     12/10/2019        16:37 BMX      107               Random                                         Briggs, Robert LVN
     12/10/2019        05:29 BMX      78                Unknown                                        Gunner, Selina LVN
     12/09/2019        16:30 BMX 201                    Random                                         Briggs, Robert LVN
     12/09/2019        04:42 BMX      Refused                                                          Brekel , C. LVN
     12/08/2019        15:58 BMX      182               Random                                         Hayes, M. LVN
     12/08/2019        05:10 BMX      Refused                                                          Denham, Ronald LVN
     12/07/2019        16:11 BMX 222                    Random                                         Hayes, M. LVN
     12/07/2019        05:17 BMX      Refused                                                          Brekel, C. LVN
     12/06/2019        15:47 BMX      134               Random                                         Hayes, M. LVN
     12/06/2019        04:52 BMX      136               Unknown                                        Thomas, J . LVN
     12/05/2019        15:41 BMX      70                Non-Fasting                                    Haley-Gilliam, L. LVN
     12/05/2019        05:33 BMX      112               Unknown                                        Watts, C. RN
     12/04/2019        19:09 BMX      183               Non-Fasting                                    Haley-Gilliam, L. LVN
     12/04/2019        04:37 BMX      Refused                                                          Brekel , C. LVN
     12/03/2019        16:05 BMX      135               Random                                         Hayes, M. LVN
     12/03/2019        04:54 BMX      140               Fasting                                        Brekel, C. LVN
     12/02/2019        15:58 BMX      59                Random                                         Hayes, M. LVN
     12/02/2019        05:30 BMX 70                     Unknown                                        Gunner, Selina LVN
     12/01/2019        15:08 BMX      155               Random                                         Briggs, Robert LVN
     12/01/2019        05:11 BMX      85                Unknown                                        Gunner, Selina LVN
     11/30/2019        15:33 BMX 211                    Random                                         Briggs, Robert LVN
     11/30/2019        05:02 BMX      Refused                                                          Yu, Lin RN
     11/29/2019        15:13 BMX      190               Random                                         Briggs, Robert LVN
     11/29/2019        04:59 BMX      97                Fasting                                        Brekel, C. LVN
     11/28/2019        14:32 BMX      123               Random                                         Hayes, M. LVN
     11/28/2019        05:05 BMX      99                Fasting                                        Brekel, C. LVN
     11/27/2019        16:41 BMX 62                     Random                                         Hayes, M. LVN
     11/27/2019        05:05 BMX      128               Unknown                                        Watts, C. RN

ASSESSMENT:

Diabetes mellitus, type II (adult-onset), 250.00 - Current




Generated 12/27/2019 08:05 by Polavarapu, Sreedhar MD    Bureau of Prisons - BML                                         Page 2 of 3
           Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 33 of 62 Page ID #:241
Inmate Name: KARIBLGHOSSIAN, SHANT N                                                                Reg #: 64876-112
Date of Birth :     1984                                   Sex:      M    Race: WHITE               Facility: BML
Encounter Date: 12/27/2019 07:56                           Provider: Polavarapu, Sreedhar MD        Unit:     Z02

PLAN:

New Laboratory Requests:
     Details                                                  Frequency                   Due Date              Priority
     Lab Tests - Short List-General-CBC w/diff                Recurring                   01/08/2020 00:00      Routine
     Lab Tests - Short List-General-Lipid Profile
     Lab Tests - Short List-General-Microalbumin,
     urine random
     Lab Tests - Short List-General-TSH
     Chronic Care Clinics-Diabetic-Hemoglobin A 1C
     Lab Tests - Short List-General-T4, Free
     Lab Tests - Short List-General-Comprehensive
     Metabolic Profile (CMP)
          Additional Information:
              e11 .9
              MUST BE DONE ...
     Chronic Care Clinics-Diabetic-Hemoglobin A 1C            Recurring                   04/08/2020 00:00      Routine
         Additional Information:
              e11 .9
     Chronic Care Clinics-Diabetic-Hemoglobin A 1C            Recurring                   07/08/2020 00:00      Routine
         Additional Information:
              e11.9
     Chronic Care Clinics-Diabetic-Hemoglobin A 1C            Recurring                   10/08/2020 00:00      Routine
         Additional Information:
              e11 .9
Schedule:
    Activity                                                   Date Scheduled          Scheduled Provider
    Counseling                                                01/01/2020 00:00 Nurse
          Inmate's last labs were in 2017: must NOT refuse, if he wants to continue Medical Tx w meds.
    Counseling                                                01/08/2020 00:00 Nurse
          Inmate's last labs were in 2017: must NOT refuse, if he wants to continue Medical Tx w meds.
    Counseling                                                01/15/2020 00:00 Nurse
          Inmate's last labs were in 2017: must NOT refuse, if he wants to continue Medical Tx w meds.
    Chronic Care Visit                                         06/25/2020 00:00 Physician
         CCC: last seen , 6/26/19 ... do NOT move ahead.
Disposition:
    Follow-up at Sick Call as Needed
    Follow-up at Chronic Care Clinic as Needed

Other:
    Inmate MUST DO LABS, in order to be treated properly w right meds.

Patient Education Topics:
    Date Initiated Format                               Handout/Topic                               Provider             Outcome
    12/27/2019     Counseling                           Compliance - Treatment                      Polavarapu, Sreedhar No Participation


Copay Required: No                           Cosign Required: No
TelephoneNerbal Order:          No
Completed by Polavarapu, Sreedhar MD on 12/27/2019 08:05
Generated 12/27/2019 08:05 by Polavarapu, Sreedhar MD        Bureau of Prisons - BML                                       Page 3 of 3
         Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 34 of 62 Page ID #:242
                                                Bureau of Prisons
                                                 Health Services
                                     Clinical Encounter - Administrative Note
Inmate Name:        KARIBLGHOSSIAN, SHANT N                                             Reg #:      64876-112
Date of Birth:            1984                       Sex:      M     Race:WHITE         Facility:   BML
Note Date:          12/26/2019 21 :06                Provider: Yu, Lin RN               Unit:       Z02


Admin Note - Chart Review encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                 Provider: Yu, Lin RN
          Insulin order expired 12/24/2019. Please review chart to see if needed to renew order


Copay Required: No                          Cosign Required: Yes
TelephoneNerbal Order:            No
Completed by Yu, Lin RN on 12/26/2019 21 :08
Requested to be cosigned by Polavarapu, Sreedhar MD.
Cosign documentation will be displayed on the following page.




Generated 12/26/2019 21 :08 by Yu, Lin RN             Bureau of Prisons - BML                           Page 1 of 1
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 35 of 62 Page ID #:243




                     EXHIBIT
                        6
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 36 of 62 Page ID #:244
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 37 of 62 Page ID #:245
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 38 of 62 Page ID #:246




                     EXHIBIT
                        7
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 39 of 62 Page ID #:247
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 40 of 62 Page ID #:248




                     EXHIBIT
                        8
   Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 41 of 62 Page ID #:249
Release Plan                                                              Shant Kariblghossian
                                                                          September 2020


  Background

  The goal of Mr. Kariblghossian’s release plan is to provide resources that support his
  reintegration into the community after being incarcerated since 2014. Mr. Kariblghossian
  has a history of type II diabetes mellitus and hypertension. Having just one of the
  diagnoses above increases the risk of severe illness and death if Mr. Kariblghossian were to
  contract COVID 19. Mr. Kariblghossian would reside with his brother, Mano Boghossian.
  His support and care will be provided to him by Mr. Boghossian.

  De Anna Dove, ASW with the Federal Public Defender’s Office, developed the following
  release plan by interviewing Mr. Kariblghossian’s family. Below, please find the outline
  detailing the housing, medical care and prosocial supports planned for Mr. Kariblghossian
  supporting his re-entry into his community


  RESIDENTIAL TREATMENT                   Upon his release, Mr. Kariblghossian will be
                                          admitted into a residential treatment facility that
                                          will provide dual diagnosis care. Dual diagnosis
                                          recovery will help Mr. Kariblghossian achieve
                                          mental wellness in conjunction with treating his
                                          addiction to maintain lasting sobriety. Mr.
                                          Kariblghossian suffers from Depression,
                                          Obsessive-Compulsive Disorder, and Anxiety. De
                                          Anna Dove, ASW is currently researching
                                          treatment centers to locate availability.


  HOUSING                                 Upon completing residential treatment, Mr.
                                          Kariblghossian will live with his brother, Mano
                                          Boghossian, at                       , Bellflower,
  Bellflower, CA 90706                    CA 90706. Mr. Boghossian advises that his
                                          apartment consists of two bedrooms, a loft, and
                                          one bathroom allowing room for Mr.
                                          Kariblghossian. Mr. Boghossian stated that he will
                                          be available to care for and transport Mr.
                                          Kariblghossian to his medical and mental health
                                          appointments and other errands.




                                               1
   Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 42 of 62 Page ID #:250
Release Plan                                                          Shant Kariblghossian
                                                                      September 2020


  MEDICAL CARE                       Mr. Kariblghossian will receive medical health care
                                     at the Long Beach Memorial Medical Center’s
  Long Beach Memorial Medical        campus. The medical center is located eight miles
  Center                             from the Boghossian home. Because Mr.
                                     Kariblghossian has type II diabetes and
  2801 Atlantic Avenue               hypertension, he will need specialty care. Long
  Long Beach, CA 90806               Beach Memorial Medical Center has an array of
                                     specialists to address each of his illnesses.

  Bellflower Behavioral Health       Due to Mr. Kariblghossian having Depression,
  Hospital                           Obsessive-Compulsive Disorder, and Anxiety,
                                     Bellflower Behavioral Health Hospital is located
  9542 Artesia Blvd.                 one mile away from the Boghossian home.
  Bellflower, CA 90706               Bellflower Behavioral Health Hospital provides
                                     inpatient treatment, follow-up care and can refer
                                     Mr. Kariblghossian to a mental health care
                                     provider for ongoing treatment if needed.

  PROSOCIAL ENGAGEMENT               De Anna Dove will assist Mr. Kariblghossian with
                                     applying for the SSDI, General Relief, Calfresh,
                                     and Medi-Cal benefits. These benefits will cover
                                     Mr. Kariblghossian’s need for financial assistance,
                                     food, and medical insurance. General Relief will
                                     serve as an interim benefit until Mr.
                                     Kariblghossian’s social security disability benefit is
                                     reinstated.


  The Office of the Federal             Service Coordination Services
  Defender - Central District of        Case Management Services
  California                            Record Collection
                                        Re-entry Support
  321 East 2nd Street
  Los Angeles, CA 90012
  213.894.7527

  Contact:
  De_Anna_Dove@fd.org


                                          2
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 43 of 62 Page ID #:251




                     EXHIBIT
                        9
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 44 of 62 Page ID #:252




Honorable Judge Snyder,

This letter is intended to serve as my ultimate plea for the release of my dear cousin, Shant
Kariblghossian. For many years, my family and I have lived in absolute anguish and heartache
as my cousin not only suffers physically from multiple diagnosed health conditions, but
emotionally from deep remorse and despair. Despite the many years I have been physically
separated from my sweet cousin, I am hopeful this letter can provide aid and support in his
release, in which after many years, he can finally be reunited with our family.

Shant was always so loving, kind, and protective of me. Biology made us cousins, but we
had a very sacred and special bond, much like brother and sister. Shant was always two
academic grades above me, but throughout the entire duration of our academic career, he always
kept me close. Shant always encouraged me to be strong and to speak out against all teenage
injustices: despite how big or small. Shant was a natural athlete: he had an innate drive and
passion for the game of basketball, and he excelled. He starred on the Varsity basketball team in
high school and was truly disciplined in his aims to advance his game in his sport. He was a team
player, focused, ambitious, and he was determined to succeed. I imagine if the stars had aligned
much differently for him, he could have quite possibly starred in the NBA.

It has been brought to my attention from recent family discussions that my cousin’s health
is severely deteriorating from the lack of proper medical care, specifically the proper
treatment plan and medical attention. As a pharmacist second, I have extensive schooling and
knowledge that the lack of proper prescription medications needed to treat these comorbid
diagnosed conditions is highly detrimental to his overall health. My cousin is deemed a severe,
high-risk patient for blindness, stroke, and a multitude of cardiovascular conditions.

Please return my cousin to our family so he can receive the medical attention he
desperately needs in order to return and become a high-functioning and active member of
his community. The time is now to act in favor for his release, and I plea this letter will reflect
the urgency of his deteriorating health and that my cousin has a genuine and loving support
system waiting for his safe return home. And I can promise you that we will support and
navigate Shant onto the right path.

My sincerest gratitude and forever thanks for your time and attention,

Angelik Karapetian, RPh
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 45 of 62 Page ID #:253
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 46 of 62 Page ID #:254




August 17, 2020



Honorable Judge Snyder,



I am writing this letter in hopes that it will help to see what kind of person Shant Kariblghossian (Inmate
#64876-112) is, despite his given circumstances and the actions taken leading up to this point.



I have known Shant as a good friend for over 10 years, I have always know Shant to be kind hearted,
caring and most importantly dependable. During this time, I have come to see various sides his
personality, Shant is the type of person who would drop whatever he was doing to help anyone.



I can assure Shant has matured and highly reflected on his previous actions during his incarceration, I
believe Shant will move forward and become the best version of himself. He has plenty of support
from fiends and family who will continue to motivate and push him through any hardships he may face. I
am aware his health condition is not the best and he will have better care amongst his family who loves
him unconditionally.



Please consider Shant’s early release, as I can guarantee he is remorseful and will become a better
son, brother, uncle and friend!



If you have any questions do not hesitate to reach me at carloscmjrsocial@gmail.com.




Warm regards,



Carlos Ceron
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 47 of 62 Page ID #:255
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 48 of 62 Page ID #:256
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 49 of 62 Page ID #:257
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 50 of 62 Page ID #:258


 From:           GAMERZ
 To:             Brittany Klein
 Subject:        Fwd: August 24, 2020
 Date:           Tuesday, August 25, 2020 7:24:23 AM




 August 24, 2020



 Honorable Judge Cristina Snyder

 United States District Judge

 Central District of California

 350 W. First Street

 Los Angeles, CA 90012



 RE: Inmate 64876-112



 Dear Judge Snyder,



 I am writing in regard to Shant Kariblghossian. I have known Shants brother since early
 childhood. I am well acquainted with his family as well. I can assure you that Shant has a
 strong stable network of people waiting to help him when he comes home from prison. He has
 neighbors who would welcome his presence. He has family who very much want him to be
 with them.Shants health is deteriorating as he has serious health issues which include diabetes
 and high blood pressure. His family would like to help Shant become healthy again.



 Shant unfortunately got involved in drugs, but like all of us he has changed a lot in those 8
 years while serving his time in prison. He has Worked hard at his own rehabilitation and he
 has been a model prisoner. He has a family and a circle of support that will help him be
 successful and healthy when he comes home. Please do all you can to ensure that Shant has an
 early release.



 Sincerely,
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 51 of 62 Page ID #:259


 Liza Samuelian




 Sent from my iPhone
 --
 Mano
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 52 of 62 Page ID #:260
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 53 of 62 Page ID #:261



Honorable Judge Snyder,



It is with heavy heart that I write this letter pleading for the release of Shant Kariblghossian (Inmate
#64876-112).

Shant Kariblghossian is my older cousin, but he has always been much more than that to me, he has
always been my big brother. Even during his time away, Shant continues to be someone I can lean on
and look to for advice. Through several letters and phone conversations, it is evident to me how much
he has grown and matured as a person. I have no doubt in his ability to become an outstanding citizen
again.

Shant is actually one of the first people I told, via letter, that I was proposing to my girlfriend. If you
could read his response, you would think he himself was getting engaged. He could not have been
happier. I let him know that I was planning on having him a part of my wedding party if his release
allows it.

Unfortunately, one thing that keeps getting exponentially worse for Shant is his health. He has 7 major
health conditions that are affecting him in ways that I cannot fathom. Whether it is his diabetes,
depression, neuropathy, or any of the other conditions he suffers from, I feel like Shants health is
wearing down fast. Without the proper treatment I worry how much longer he will last in there.

Please Judge Snyder, consider Shant Kariblghossian for early release. He is not someone who deserves
to continue his time in federal prison. He is someone that needs to rejoin his big Armenian family and
celebrate all the positive things life has in store for someone with as pure a heart as his.



Respectfully,

Harout Achekian
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 54 of 62 Page ID #:262
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 55 of 62 Page ID #:263




August 14, 2020


Re:    Inmate number 64876-112
       Shant Kariblghossian

Dear Honorary Judge Christina Snyder:

I am writing this letter regarding my first cousin, Shant Kariblghossian, my maternal aunt’s son.
We come from a very big family and Shant is one of twelve first cousins. We are an extremely
close family and we all grew up with one another. We share so many amazing memories with
each another, spent all of our birthdays together and had countless family gatherings. Shant has
always been a very thoughtful, caring, and generous individual with a heart of gold, an excitement
for life, a sense of humor, and true love for his family. The unanticipated sickness and death of
our aunt, Shant’s mom, at such a young age, took a toll on the entire family, especially on Shant,
who was only a teenager at the time. Shant’s absence from our family has been so very noticeable
throughout the years and we are all anxiously waiting for his release. Shant has a strong, stable
network of people waiting to help him when he comes home. Shant is an asset to his family and
to his community. When he transitions back into society, he will be in great company with his
supportive family who will be there to help him start a new life.

Sincerely,


Maralle Messrelian
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 56 of 62 Page ID #:264
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 57 of 62 Page ID #:265



Dear Judge Snyder,



I write this letter to you on behalf of Shant Kariblghossian, Inmate #64876-112.

This is a letter is not an easy one to write, but please find it in your heart to let our Shant come back
home to a family that has been eagerly waiting for him. I have been fortunate enough to know Shant
from the day he was born, as I was alongside his mother during his birth. From that day on, Shant has
held a special place in my heart.

As a mother myself of two children who grew up alongside Shant, I have nothing shy of immense
empathy towards my sweet nephew. I have been fortunate enough to speak to him on several
occasions during his incarceration and he someone has still managed to keep up his sense of humor and
this charm that makes him so special.

Unfortunately, the devastating and tragic passing of his dear mother from her battle with colon cancer
affected the emotional well-being of Shant. The youngest of three siblings, he was so close with his
mother, and the ramifications of her death were detrimental to his well-being.

There are few people I have come across with as pure a heart and as genuine of a soul as Shant
Kariblghossian. In that, he reminds me entirely of his late mother. Both have this selfless and sincerity
that would be evident within 5 minutes of talking to them.

Shant has never been the type to complain, but his several health conditions are beginning to really
take a toll on him physically and mentally. His spirits are still high, but as well as I know him, I am not
sure how much longer this would last. have spoke to Shant on several occasion during his incarceration
and, though his spirit is still high, his health and quickly deteriorating. Please consider the early release
of Shant Kariblghossian so he can properly tend to these conditions.

My Sincerest Gratitude,

Nanor Achekian
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 58 of 62 Page ID #:266


 From:            Mano
 To:              Brittany Klein
 Subject:         Letters for Shant
 Date:            Friday, August 14, 2020 8:03:54 AM


 Good morning !

 Sent from my iPhone

 Begin forwarded message:


        From: sandie guldalian <sandieg777@gmail.com>
        Date: August 14, 2020 at 7:52:42 AM PDT
        To: Mano Boghossian <BEARISH54@GMAIL.COM>
        Subject: Shant Kariblghossian


        ﻿
        Re: Shant Kariblghossian
        Inmate number 64876-112

        Dear Honorable Judge Snyder,

        My name is Sandie Guldalian, I am Shants older cousin. I am writing on Shants
        behalf because we need our cousin back home with us.  

        Unfortunately, when my aunt passed away (Shants Mother) when Shant was only
        16, he did not know how to handle it. He surrounded himself with the wrong
        crowd and got caught up with trouble. He really is a gentle sweet guy! The
        kindest heart! My family and I desperately want him home where he belongs.
        Especially with all his underlying health issues. He belongs home with us. We
        miss him so much!!

        Please, kindly consider an early release for our beloved cousin. We are a
        tightknit loving family, and we are looking forward to having Shant back with us,
        so he can heal and mend with his family by his side and so he will be able to get
        the correct healthcare he deserves. Thank you in advance for considering my
        pleading letter for his release.

        Kind Regards,
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 59 of 62 Page ID #:267




      August 14, 2020

      The Honorable Christina A. Snyder
      First Street Courthouse
      350 West First Street
      Courtroom 8D, 8th Floor
      Los Angeles, CA 90012


      Dear Judge Christina A. Snyder,


      I am writing to you today to advocate for the early release of my cousin,
      Shant Karibighossian (64876-112). As of right now he is battling many health
      issues and is a non-violent offender in need of medical attention. Shant’s
      current incarceration does not represent who he is as a person and I am
      certain that with our family’s help he can become the person he has always
      been. Growing up with a large extended family I was constantly surrounded
      by my older cousins, Shant being one of them. Shant’s jovial demeanor made
      him stand out, but I always noticed how truly kind hearted he is. Shant truly is
      a great person, that said, several unfortunate events swept him down a dark
      road that, as a family, we know we can guide him back from. During his
      formative teenager years, Shant lost his mother when he needed her
      guidance the most. In addition to the grief of his untimely loss, Shant also
      bore witness to the toll the treatments took on his mother’s body. Shant, at
      his core, is still the same jokester I remember and with his health
      complications he needs to be with his family to insure any chance of
      recovery; not limited to his medical conditions but also to him as a whole
      human being.

      I very much appreciate you taking the time to read this letter and hope you
      take my words into consideration in your decision.


      Sincerely,

      Sevag Kasbarian
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 60 of 62 Page ID #:268


 From:             GAMERZ
 To:               Brittany Klein
 Subject:          Fwd: letters for Shant
 Date:             Friday, August 14, 2020 9:51:42 AM


 Hello Brittany!

 ---------- Forwarded message ---------
 From: sandie guldalian <sandieg777@gmail.com>
 Date: Fri, Aug 14, 2020 at 8:24 AM
 Subject: Shant Kariblghossian
 To: Mano Boghossian <Bearish54@gmail.com>




 RE: Shant Kariblghossian
 Inmate Number: 64876-112

 Dear Honorable Judge Snyder,

 I am writing this letter to you to ask for my nephews release. I continuously inquire about him
 through his brother Mano. I worry about him so mucht, he needs to come back home with his
 loving family. His mother passing when Shant was 16 years old, took a toll on my nephew.
 He did not know how to handle being without a mother at such an impressionable age. Please
 allow me to mother him, he needs to be back in a stable household with his family looking
 after him. He needs home-cooked meals and family bonding time so he is able to heal and get
 back to normal.

 Shant has some health issues as well that needs attention, Judge Snyder, please allow Shants
 release so he is able to get the right healthcare for his medical needs. My sister and I are
 anxiously waiting for his return home so we can bond and reconnect! My heart breaks
 thinking about Shant alone and so far away. Please allow him back home with us.

 Thank you kindly,

 Sossy Messrelian


 --
 Mano
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 61 of 62 Page ID #:269


 From:            Mano
 To:              Brittany Klein
 Subject:         Letters for Shant
 Date:            Friday, August 14, 2020 10:05:51 PM



  EXTERNAL SENDER: Do not click any links or open any attachments unless you trust
  the sender and know the content is safe.



 Sent from my iPhone

 Begin forwarded message:


        From: Troy Kasbarian <ttkinc@hotmail.com>
        Date: August 14, 2020 at 9:04:30 PM PDT
        To: "bearish54@gmail.com" <bearish54@gmail.com>
        Subject: Shant Letter - Tro


        ﻿
        Dear Judge Snyder, I am one of many cousins of Shant Kariblghossian inmate # 64876-
        112. The purpose of this letter is to show the love and support we have for Shant.
        Growing up, we spent tons of time together playing basketball. He would always show
        me new moves and encourage me to play with the older crowd to get better. In short,
        he took me under his wing and looked out for me like an older brother. His mom’s
        passing at a young age was difficult for us all as our moms were like best friends. This
        was especially difficult for Shant, regardless of how much he tried to hide his emotions.
        As a family unit, we will support him any which way possible. A lot of our family
        members have their own businesses and would love to give Shant a job once he is out
        of prison. His health is deteriorating so we are hoping and praying this will be sometime
        soon. Thank you for your time.


        Tro Kasbarian



        Troy Kasbarian
Case 2:13-cr-00318-CAS Document 45 Filed 09/21/20 Page 62 of 62 Page ID #:270
